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UNITED STATES DISTRICT COURT                      SOUTHERN DISTRICT OF TEXAS
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
GAMCO Asset Management, Inc.,             §                                 November 04, 2019
                                          §                                  David J. Bradley, Clerk
versus                                    §               Civil Action 4:19−cv−03363
                                          §
Mark McCollum, et al.                     §

                          Order Resetting Conference

1.   The pretrial conference has been reset to:

                                   January 8, 2020
                                     at 03:00 PM

2.   To ensure full notice, whoever receives this notice must confirm that every other
     party knows of the setting.

     Signed on November 4, 2019, at Houston, Texas.
